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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

  FERYAL MOHAMMAD and
  WAJDAN MOHAMMAD,

                Plaintiffs,
    v.                                                            Case No. 1:18-cv-23330-MGC

  BANK OF AMERICA, N.A.,

                Defendant.
                                        /

                              JOINT NOTICE OF SETTLEMENT

          COME NOW, Plaintiffs, FERYAL MOHAMMAD and WAJDAN MOHAMMAD

   (“Plaintiffs”), by and through undersigned counsel, and hereby file this Joint Notice of

   Settlement, and state that Plaintiffs and Defendant, BANK OF AMERICA, N.A., have come to

   an amicable settlement agreement.

   Date: November 7, 2018

  /s/ Christopher W. Boss                                /s/ Maureen B. Walsh_____
  Christopher W. Boss, Esq.                              Maureen B. Walsh, Esq.
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                                  [Certificate of Service on Next Page]


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                                  CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on this 7th day of November, 2018, I electronically filed the
    foregoing document with the Clerk of Court using CM/ECF. I also certify that the foregoing
    document is being served this day on all counsel of record or pro se parties either via transmission
    of Notices of Electronic Filing generated by CM/ECF or in some other authorized manner for
    those counsel or parties who are not authorized to receive electronically Notices of Electronic
    Filing.

                                                 /s/ Christopher W. Boss
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